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AO 442 (Rew LIT) Arrest Warrant 4Zi / O IS.

UNITED STATES DISTRICT COURT

for the
U.S. MARSHAL -DC PM1:57 District of Columbia
RECEIVED JAN 7°21
United States of America Case: 1:21-mj-000010
v. } Assigned to: Judge Harvey, G. Michael
CHRISTOPHER MICHAEL ALBERTS )} Assign Date: 1/7/2021
} Description: COMPLAINT W/ARREST WARRANT
}
}
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrestcid) CHRISTOPHER MICHAEL ALBERTS :
who is accused of an offense or violation based on the following document filed with the court:

A Indictment | Superseding Indictment © Information O) Superseding Information & Complaint

© Probation Violation Petition O Supervised Release Violation Petition [Violation Notice O Order of the Court

This offense is briefly described as follows:

40 U.S.C. § 5104(e)(1)(A){i) - (Unlawful Activities; Carrying a Firearm on Capital Grounds)
Digitally signed by G.

id A, , Michael Harvey
} on -

r-+ Date: 2021.01.07
13:41:21 -05'00'

issuing officer's signature

 

Date: 01/07/2021

City and state: |= Washington, DC G. Michael Harvey, U.S. Magistrate Judge

Printed name and title

 

Return

 

This warrant was received on (date) | / Af 2Or . and the person was arrested on (dare) \/ ie 2 |
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pate |/7/ jor LZ

esting officer's signature
eean'y

Choy Mar Schosh- QU?)

Printed name and tith

 

 

 
